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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DEBORAH LAUFER, Individually,

                          Plaintiff,                 SUPPLEMENTAL
                                                     MEMORANDUM
      -vs-
                                                      Case No.: l:20-cv-00467-LJV
WEBBS MOTEL, INC.,
                                                      Assigned Judge:
                          Defendant.                  Hon. Lawrence J. Vilardo


             DEFENDANT'S SUPPLEMENTAL MEMORANDUM

      Defendant Webbs Motel, Inc. supplements its previous memorandum of law

that was submitted in support of Defendant Webbs Motel, Inc.'s motion pursuant

to Federal Rules of Civil Procedure, Rule 12(b)( 1) to dismiss the Plaintiffs

complaint on the grounds that the federal court lacks subject matter jurisdiction

and Plaintiffs claim is moot.

      In Laufer v. Arpan LLC, CV-200 A W-GRJ, DE (ND FL September 25,

2020), the United States District Court for the Northern District of Florida, citing

the Supreme Court's decision in Spokeo, Inc. v. Robins, 136 S Ct 1540 (2016),

dismissed the plaintiff Laufer' s case for lack of standing. The Arpan court

concluded that Laufer failed to establish she sustained a "concrete and

particularized" injury that is real and not abstract under Article III of the

Constitution. Laufer claimed that her injury - viewing a noncompliant website -


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constituted a constitutional injury under Article III. The Arpan court rejected this

argument on the grounds that Laufer had not shown that the violation caused her

real harm. The court noted: "Information about a hotel's available rooms does not

help those who (like Laufer) have no interest in booking a room." In other words,

there is nothing to differentiate Laufer' s harm from the harm of any other person

who visits the website and discovers noncompliance with the regulations. The

Arpan court indicated that the Supreme Court, in Spokeo, Inc. v. Robins, 136 S Ct

1540 (2016), considered whether a technical violation of a statute constituted a real

injury for standing purposes. In this regard, the court stated:

                    In Spokeo, Inc. v. Robins, the Supreme
                    Court considered whether a technical
                    violation of a statute constituted a real injury
                    for standing purposes. 136 S Ct 1540, 1550
                    (2016). The plaintiff in Spokeo sued under
                    the Fair Credit Reporting Act, claiming a
                    report featured false information about him.
                    Id. at 1546. He alleged no harm from the
                    false report, only that the defendant violated
                    the Act. Id.

                    The court concluded that Article III requires
                    more than a 'bare procedural violation.' Id.
                    at 1550. It reasoned that while Congress can
                    elevate an intangible harm to create a
                    statutory right, violation of that right will not
                    confer standing ifit is 'divorced from any
                    concrete harm.'

       The Supreme Court, in Spokeo, however, pointed out that a violation of a

procedural violation granted by statute can, in some cases, be sufficient to


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constitute injury in fact. As examples, the Spokeo court pointed to its decision in

Federal Election Comm'n v. Akim, 524 US 11, 118 S Ct 1777 (1998) and Public

Citizens v. Dept. ofJustice, 491 US 440, 109 S Ct 2558 (1989).

      In Akim, a group of voters brought suit to challenge the Federal Election

Commission's ("FEC") determination that the American Israel Public Affairs

Committee ("AIPAC") was not a "political committee" under 2 USC § 431 (4). Id.

at 13-14. If the FEC had ruled AIPAC a political committee, AIPAC would have

been required to comply with significant disclosure obligations. Id. at 15. The

Supreme Court found that the voters were injured and consequently had standing

because the non-disclosure impeded the voters' ability to "evaluate candidates for

public office." Id. at 21.

       In Public Citizens, the court determined that two advocacy organizations'

failure to obtain information subject to disclosure under the Federal Advisory

Committee Act constituted a sufficient distinct injury to provide standing to sue.

       While Akim and Public Citizens confirm that non-disclosure of information

can give rise to an injury-in-fact, they also show that nondisclosure is not an injury

in and of itself. Rather, plaintiffs must show that an alleged non-disclosure

actually harms them, as the plaintiffs in Akim and Public Citizens showed harm to

the exercise of their political rights. This, Laufer has failed to do.




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      In Arpan, as in the PlaintiffLaufer's action against the Defendant Webbs

Motel, Inc., there is no injury, as Laufer had no plan or intent to stay or go there.

Laufer has shown no "concrete and particularized" injury. Laufer has shown only

that the Webbs Motel website omitted information that would be useless to her, as

she had no intent to stay at Webbs or visit the area. Because Laufer cannot show

harm stemming from Defendant's non-disclosure, she cannot show a concrete

injury so as to have standing under Article III of the Constitution.

       The Arpan court also distinguished the Supreme Court's decision in Havens

Realty Corp. v. Coleman, 455 US 363 (1982) which Laufer now relies on. In

Havens Realty, the tester plaintiffs investigated whether defendants were violating

the Fair Housing Act through "racial steering." The white plaintiff was told there

was availability; the black plaintiff was told there was not. Standing was among

the issues in the case, and the court found that the black tester plaintiff had

standing, even though she did not intend to rent an apartment. Laufer contends

that because the plaintiff in Havens Realty had standing when she did not intend to

rent an apartment, she also has standing, even though she did not intend to stay at

the hotel. In rejecting this argument, the Arpan court noted that Laufer's case was

different in several ways:

                    First, there were multiple plaintiffs in
                    Havens Realty. One of the plaintiffs, a non-
                    profit organization had standing because the
                    defendants' racial steering practices


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            impaired its ability to provide services and
            drained its resources. Id. at 378-79.
            Because standing as to any one plaintiff is
            enough, Rumsfield v. Forum for A cad. &
            Institutional Rights, Inc., 547 US 47, 52 n2
            (2006), the standing of the tester plaintiff
            was not essential.

             More importantly, though, the Havens
             Realty defendants intentionally
             discriminated against the tester plaintiff
             based on racial animus. Id. at 373-74. They
             told white prospective renters one thing, and
             they told black prospective renters a
             different (and false) thing. The tester
             plaintiff, who was 'the object of a
             misrepresentation made unlawful under §
             804(d),' thus 'suffered injury in precisely
             the form the statute was intended to guard
             against.' Id. at 373-74. Laufer cannot show
             she suffers the harm the ADA was designed
             to guard against. The substantive Title III
             right at issue is the right 'to be free from
             disability discrimination in the enjoyment of
             the facility.' Houston, 733 F3d at 1332.
             The regulation requiring hotels to include
             certain information on their websites-28
             CFR § 36.302(e)(l)-is specifically tied to
             42 USC§ 12182, which prevents
             discrimination in the enjoyment of a facility.
             There is no standalone right to have certain
             information on a website.

             Moreover-and relatedly-the tester
             plaintiff in Havens Realty had a
             particularized injury: she was directly lied
             to and discriminated against. Laufer, on the
             other hand, faced no particularized harm.
             She had access to the same information as
             everyone else.


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      The same result as was reached by the court in Arpan was also reached by

the United States District Court for the Southern District of New York in Harty v.

West Point Realty, 2020 WL 4570595 (SD NY August 7, 2020). In West Point

Realty, the district court granted the defendant's motion pursuant to Rule 12(b)(l)

dismissing the plaintiff's complaint for lack of standing. The court concluded that

the plaintiffHarty's complaint, which is almost identical to Laufer's complaint

against Webbs Motel, Inc., failed to allege factual allegations upon which the court

could reasonably infer Harty intended to return to the website to book a room or

utilize defendant's services-facts that would support an inference of a

"particularized and concrete" inquiry and real threat of future harm. The court

noted that "allegations of a procedural violation divorced from any 'concrete

harm' "cannot satisfy the injury-in-fact requirement of Article III of the

Constitution, citing Spokeo v. Robbins, 136 S Ct 1540 (2016).

      The plaintiff Harty complaint in the West Point Realty case is no different

than the Plaintiff Laufer complaint against the Defendant Webbs Motel, Inc.

Laufer alleged no facts in her complaint against Webbs Motel from which the court

could reasonably infer she intended to, or would visit, or stay at Webbs Motel in

Mayville, New York. The complaint also does not allege that the Plaintiff Laufer

actually visited Webbs Motel in Mayville, New York or was ever in the general

area of Webbs Motel. The Plaintiff, who resides over 1,000 miles away in Pasco


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County, Florida, has alleged no plausible assertion that a future return to the

Defendant's website would be for the purpose of booking a room to stay at Webbs

in the Village of Mayville, New York.

      In Hernandez v. Caesars License Company LLC, WL 4894501 (NJ Dist

2019), the district court, as in West Point Realty and Arpan, granted defendant's

motion to dismiss, pursuant to FRCP 12(b)(1) for lack of subject matter

jurisdiction, as the plaintiff failed to allege a concrete injury so as to have standing

under Article III of the Constitution. In dismissing plaintiffs complaint, the

Hernandez court noted:

                    In this case, Defendant's alleged non-
                    disclosure of accessibility information could
                    conceivably harm a person with disabilities,
                    provided that person was actually looking
                    for a place to stay in Atlantic City. See, e.g.,
                    Juscinska v. Paper Factory Hotel, LLC, 18-
                    cv-8201 (ALC), 2019 WL 2343306
                    (S.D.N.Y. June 3, 2019) (denying motion to
                    dismiss Section 36.302(e) claim where
                    plaintiff visited hotel website '[i]n an effort
                    to plan an upcoming 'stay-cation');
                    Poschmann v. Coral Reef ofKey Biscayne
                    Developers, Inc., Case No. l 7-cv-14363-
                    Middlebrooks, 2018 WL 3387679, at *3
                    (S.D. Fla. May 23, 2018) (finding plaintiff
                    had standing to bring Section 36.302(e)
                    claim where it was undisputed that plaintiff
                    intended to return to defendant's hotel's
                    website to 'to reserve a room at the Hotel or
                    to test the Hotel's Website reservation
                     system for its compliance with the ADA').
                     But Plaintiff is not such a person. He had


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                   no interest in staying at Harrah's.
                   Rather, his sole interest in visiting the
                   Website was to determine ifit complied
                   with the ADA, (FAC at~ 18), and there is
                   no allegation that Defendant's conduct
                   impeded him in that quest. Because
                   Plaintiff cannot show harm stemming
                   from Defendant's non-disclosure, he
                   cannot show concrete injury. (Emphasis
                   added.)

      In Harty v. Greenwich Hospitality Group, 536 F App'x 154 (2d Cir 2013),

the Second Circuit Court of Appeals affirmed the District Court's dismissal of

plaintiffs claims under Title III of the Americans with Disabilities Act (ADA), 42

USC§ 12181 et seq. for lack of standing under Article III of the Constitution. The

Second Circuit, in affirming the District Court's dismissal pursuant to Rule

12(b)(1 ), concluded that the plaintiff Harty, who was a Florida resident, did not

have standing to bring an ADA action against the Greenwich Hospitality Group,

who owned the Hampton Inn in Stanford, Connecticut absent evidence of"any

concrete plan to stay overnight in Stanford in the future." In this regard, the

Second Circuit noted:

                    We conclude that Harty has failed
                    adequately to demonstrate a basis for
                    inferring that he will return to Stamford,
                    Connecticut for an overnight stay. Harty, a
                    Florida resident, claims that he often visits
                    his family in Nyack, New York, a short
                    distance from Stamford, Connecticut.
                    Despite dozens of trips to Nyack over the
                    last thirty years, however, Harty specifies


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                   only a single occasion on which he stayed
                   overnight in Stamford-namely the occasion
                   giving rise to his complaint. While he
                   asserts that he frequently visits Connecticut
                   as part of his travels to Nyack, moreover,
                   Barty's complaint does not evidence any
                   concrete plan to stay overnight in
                   Stamford in the future.

                   Further, Barty's assertion that he
                   'constantly travel[s] nationwide and visit[s]
                   gun shows throughout the country' lacks the
                   specificity necessary to establish an ongoing
                   injury caused by the Stamford Hampton
                   Inn's alleged ADA violations. (Emphasis
                   added.)

      The Second Circuit's affirmance of the District Court's determination that

Harty did not have standing is in accord with the District Court's decisions in

Harty v. West Point Realty, Inc. and Arpan.

      It should be noted that the facts alleged by Harty in his complaint to

establish a basis for inferring that he would return to Stamford, Connective for an

overnight stay was considerably more than the facts Plaintiff Laufer alleged in her

complaint against the Defendant Webbs Motel, Inc.

      In PlaintiffLaufer's complaint against Webbs Motel, Inc. she alleged

absolutely no facts from which the court could reasonably infer she intended to, or

would, in the future, visit, or stay at Webbs Motel in Mayville, New York. In

short, the bare allegations ofLaufer's complaint against Webbs Motel, Inc. do not

meet the minimum requirements of Article III standing. Here, PlaintiffLaufer's


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sole interest in visiting the Webbs Motel website was to determine ifit complied

with the ADA, and there is no allegation that the Defendant's conduct impeded her

in that quest. Because the Plaintiff Laufer cannot show harm stemming from

Defendant's conduct non-disclosure, she cannot show concrete injury so as to have

standing under Article III of the Constitution.

                                    MOOTNESS

      The lawsuit by Deborah Laufer against Webbs Motel, Inc. was filed on April

21, 2020. (DK!.) The Defendant Webbs Motel was served on July 2, 2020 with a

summons and complaint that asserted Defendant's website provided insufficient

information as to whether the rooms or features at the hotel are accessible as

required by the ADA. (DK3.)

      In support of Defendant's motion to dismiss pursuant to Rule 12(b)(l) for a

lack of standing, Defendant submitted the affidavit of its President, Dare! Webb, in

which he asserted that on May 26, 2020, Webbs Motel website went through an

update, including a review of the ADA accessibility. (DK4.) Webbs was advised

that during this update, a number of accessibility issues were addressed and

corrected and that Webbs online reservation system is believed to comply with the

ADA requirements.

       Attached to Dare! Webbs affidavit was a letter from Elizabeth Gleason

Design Studio LLC dated May 26, 2020 to the Defendant in which she indicated



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that "A new ADA/accessibility page was added, listing out the accessible

accommodations and amenities, access routes, accessible room features and

various other accessible features." (DK4.) Ms. Gleason also indicated that a

"Website accessibility plugin has been added to the site to scan the website for any

issues going forward. (DK4.) Ms. Gleason advised Webbs that as of May 26,

2020, the system is reporting Oper cent site issues. The Defendant believes that

the accessibility violation alleged by the Plaintiff Laufer, ifit existed, was

corrected prior to Webbs Motel, Inc. being served with the summons and

complaint on July 2, 2020. The case by the Plaintiff Laufer against the Defendant

Webbs Motel, Inc. would now appear to be moot so as to deprive the court of

subject matter jurisdiction.

       A court lacks subject matter jurisdiction in a case brought pursuant to Title

III of the ADA if the alleged discriminatory conduct is moot because in that event,

there is no longer any case or controversy under Article III. See Christian v. New

York State Bd. ofLaw Examiners, 899 F.Supp. 1254, 1256 (S.D.N.Y. 1995). A

case becomes moot when the issues presented are no longer alive or the parties

lack a legally cognizable interest in the outcome. Already, LLC v. Nike, Inc., 568

U.S. 85, 91, 133 S.Ct. 721, 184 L.Ed.2d 553 (2013).

       A defendant cannot, however, automatically moot a case by voluntarily

ending the unlawful conduct alleged in a plaintiff's complaint. Id. Rather, a



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request for injunctive relief under the ADA will only be deemed moot if the

defendant demonstrates that the alleged wrongful behavior could not reasonably be

expected to recur.' Friends ofthe Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,

528 U.S. 167, 190, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000).

      In this case, the Defendant Webbs Motel, Inc. demonstrated that its website

is now, according to its President, as shown by the letter from Elizabeth Gleason,

ADA compliant with the ADA requirements, and an accessibility plugin was added

to the site to ensure future compliance. Consequently, the wrongful behavior has

ceased, making the PlaintiffLaufer's claim moot.

DATED: October 20, 2020
       Lakewood, New York
                                               Respectfully submitted,

                                               ERICKSON WEBB SCOLTON & HAmu



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